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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  KAITLYN ROSE SLAUGHTER,                              Civil Action No.: 1:23-cv-02566-CNS

                                 Plaintiff,

         vs.                                           SUMMONS RETURNED
                                                       EXECUTED
  LEXISNEXIS RISK SOLUTIONS INC.,

                                 Defendant.


         Pursuant to the Federal Rules of Civil Procedure, Rule 4, Plaintiff Kaitlyn Rose Slaughter

  has served upon Defendant LexisNexis Risk Solutions, Inc. copies of the following documents:

         1) Summons;

         2) Complaint;

         3) Civil Cover Sheet;

         4) Memorandum Returning Case to Magistrate Judge S. Kato Crews;

         5) Magistrate Judge Consent Form;

         6) Non-Consent to Magistrate Judge Form;

         7) Order Reassigning Case to District Judge Charlotte N. Sweeney and Magistrate Judge

               S. Kato Crews; and

         8) Order Assigning Magistrate Judge S. Kato Crews for Non-Dispositive Matters.

         Attached hereto is a copy of the Affidavit of Service.

  Date: October 23, 2023,                      Respectfully submitted,

                                               /s/ James Ristvedt
                                               James Ristvedt, AZ Bar #035938
                                               CONSUMER ATTORNEYS
                                               8245 N. 85th Way
                                               Scottsdale, AZ 85258
                                               T: (480) 626-1956
                                                  1
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                                     E: jristvedt@consumerattorneys.com

                                     Attorneys for Plaintiff Kaitlyn Rose Slaughter




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 23, 2023, I electronically filed the foregoing with the Clerk

  of the Court using the ECF system, which will send notice of such filing to all attorneys of record

  in this matter. Since none of the attorneys of record are non-ECF participants, hard copies of the

  foregoing have not been provided via personal delivery or by postal mail.

                                                                      CONSUMER ATTORNEYS

                                                                      By: /s/ Irina Iakovela
                                                                      Irina Iakovleva




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         District
                                                   __________     of Colorado
                                                               District of __________

              KAITLYN ROSE SLAUGHTER,                                  )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                          Civil Action No. 1:23-cv-02566 -REB
                                                                       )
         LEXISNEXIS RISK SOLUTIONS, INC.,                              )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           LEXISNEXIS RISK SOLUTIONS, INC.
                                           c/o C T Corporation System
                                           289 South Culver Street
                                           Lawrenceville, Georgia 30046



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           James Ristvedt
                                           CONSUMER ATTORNEYS
                                           8245 North 85th Way
                                           Scottsdale, Arizona 85258


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:                          10/2/2023                                       s/ E. Fogarty
                                                                                         Signature of Clerk or Deputy Clerk
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